      Case 2:20-cr-00210-PD Document 107 Filed 09/08/22 Page 1 of 3



Noah Gorson, Esquire
Identification No. 34323
email ng@gorsonlaw.com
Arnold Silverstein, Esq
Identification No.
email arnold.silverstein@gmail.com
1845 Walnut Street #1300
Philadelphia, PA 19103
(215) 569-4661                                          Attorneys for Defendant


                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                        :

                VS.                             :       CRIMINAL NO. 20-CR-210

MICHAEL “OZZIE” MYERS”                          :




                        MOTION TO CONTINUE SENTECING

        TO THE HONORABLE, THE JUDGE OF THE SAID COURT:

       Defendant, Michael “Ozzie” Myers, by and through co-counsel, Noah Gorson and
Arnold Silverstein (“counsel”), requests a continuance of the sentencing hearing scheduled in
the above, and in support of this motion state:

       1.      On or about July 21, 2020, Mr. Myers was indicted in the above captioned
matter and charged in Count One with conspiracy to deprive persons of civil rights 18
United States Code § 241 and related charges in Counts Two through Eight.

        2.     On or October 12, 2021, a Superseding Indictment was filed in the above
captioned matter adding five (5) additional counts, allegedly involving three (3) additional
Philadelphia voting divisions: 39th Ward 2nd, 11th, and 16th Divisions.

       3.      On June 20, 2022, Mr. Myers pleaded guilty to Counts 1, 2, 8, 10 and 12 of
the Superseding Indictment.

        4.      Mr. Myers’ sentencing hearing has been scheduled for September 27, 2022.

       5.      The draft Presentence Investigation Report was prepared on August 22
and provided to counsel on August 26, 2022.

        6.      Due to Mr. Myers’ advanced age, physical health condition and the physical
      Case 2:20-cr-00210-PD Document 107 Filed 09/08/22 Page 2 of 3



health condition of his family members, specifically his wife, daughter and brother, Matt
Myers counsel has been hampered in obtaining the necessary medical records to conduct a
substantive sentencing hearing as required by §3553(a).

        7.     Mr. Myers has been unable to complete his medical examinations with
examinations currently scheduled for later this month with a new primary care physician as
his previous physician retired, and a pain management clinic as recommended by the neuro
surgeon who has been examining him post-operatively from the anterior cervical discectomy
with fusion procedure.

       8.      Mr. Myers’ brother Matt Myers, has been unable to assist counsel as his wife
has been hospitalized on a regular basis since February due to a severe stomach condition
which required surgical intervention and a diagnosis of cancer, which will be treated once the
stomach condition has stabilized.

         9.     Ethel Myers, defendant’s wife, currently suffers from a myriad of medical
issues, including asthma, atrial fibrillation, hypertension, and cancer, and relies upon Mr.
Myers for all her transportation.

       10.    Kelly Ann Trush, Mr. Myers’ daughter, has colon cancer and currently is
undergoing chemotherapy, thus she has been unable to assist counsel.

       11.      All these individuals had anticipated testifying at the sentencing hearing;
however, as a result of the above circumstances their ability to attend is tenuous and there
has been difficulty in their ability to assist in identifying those individuals form the
community that counsel understood would be attending.

        12.     In addition, for needing time for Mr. Myers to complete his examinations
with his primary care physician, audiologist and pain management clinician, counsel needs
additional time to obtain narrative reports from these medical care providers to allow the
court to properly consider §3553(a) factors.

       13.    For all the above reasons counsel is requesting that the sentencing hearing
be continued.


                                                        RESPECTFULLY SUBMITTED:


                                                BY:     /s/ Noah Gorson
                                                       NOAH GORSON, ESQUIRE
                                                       ATTORNEY FOR DEFENDANT



                                                 BY:     /s/ Arnold Silverstein
                                                       ARNOLD SILVERSTEIN, ESQUIRE
                                                       ATTORNEY FOR DEFENDANT
      Case 2:20-cr-00210-PD Document 107 Filed 09/08/22 Page 3 of 3




                            CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of the foregoing Motion was served
upon the following in the manner indicated on today's date of September 8, 2022:




                                         ECF
                            Honorable Paul S. Diamond
                                   U.S. Courthouse
                            601 Market Street, Room 14614
                             Philadelphia, PA 19106-1773


                                         ECF
                                Department of Justice
                           United States Attorney=s Office
                           Eastern District of Pennsylvania
                          Assistant United States Attorney
                                 Eric Gibson, Esq.
                           615 Chestnut Street, Suite 1250
                            Philadelphia, PA 19106-4476




                                    BY:   /s/ Noah Gorson
                                          NOAH GORSON, ESQUIRE
